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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND

 ___________________________________
                                    )
 JASON NICKERSON,                   )
                                    )
           Plaintiff,               )
                                    )
      v.                            )           C.A. No. 19-030 WES
                                    )
 RHODE ISLAND BROTHERHOOD OF        )
 CORRECTIONAL OFFICERS, ET AL.,     )
                                    )
           Defendants.              )
 ___________________________________)

                                    ORDER

       On May 20, 2020, Magistrate Judge Lincoln D. Almond filed a

 Report and Recommendation (“R. & R.”), ECF No. 61, recommending

 that the Court deny Plaintiff’s Motion for a Temporary Restraining

 Order and Preliminary Injunction, ECF No. 21.          Plaintiff filed an

 Objection to the R. & R., ECF No. 67.             After having carefully

 reviewed the relevant papers, the Court ACCEPTS the R. & R. and

 ADOPTS   the   recommendations     and   reasoning   set   forth   therein.

 Accordingly, Plaintiff’s Motion for a Temporary Restraining Order

 and Preliminary Injunction, ECF No. 21, is DENIED.

 IT IS SO ORDERED.




 William E. Smith
 District Judge
 Date: September 11, 2020
